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                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                Plaintiff,
     vs.                                 Case No. 11-40057-04-RDR

ALFREDO BURGOIN, JR.,

                Defendant.


                                 O R D E R

     This matter is presently before the court upon defendant’s

motion for an extension of time to file pretrial motions.                   The

defendant   seeks   additional    time   because    his   counsel    has    not

completed his review of the discovery materials provided by the

government.    The defendant notes that the government does not

object to this motion.        The defendant seeks an extension of at

least thirty days to file his pretrial motions.           This is the first

request for a continuance in this case.

     The defendant and two co-defendants are charged in a two-count

indictment with (1) conspiracy to possess with intent to distribute

500 grams of more of a mixture or substance containing a detectable

amount of methamphetamine in violation of 21 U.S.C. § 846 and (2)

distribution of 500 grams or more of a mixture or substance

containing a detectable amount of methamphetamine in violation of

21 U.S.C. § 841(a)(1).    The defendant is in custody pending trial.

     Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7), the court
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may exclude a period of delay from the time computed under the

Act’s deadlines for starting a trial if the court finds that the

ends of justice served by granting the continuance outweigh the

best interest of the public and the defendant in a speedy trial.

To make this determination, the court must consider the following

factors “among others:”        1) whether the failure to grant the

continuance would likely make the continuation of the proceeding

impossible or result in a miscarriage of justice; 2) whether the

case is unusual, complex or contains novel issues which require

additional time for preparation; 3) whether there was a delay in

filing the indictment which justifies a continuance; and 4) whether

the failure to grant a continuance would deny the defendant

reasonable time to obtain counsel, or deny either side continuity

of counsel or deny the attorney for the government or defendant the

reasonable time necessary for effective preparation, taking into

account the exercise of due diligence.

     After full consideration, the court finds that the denial of

the requested extension may deny counsel and defendant the time

necessary to adequately prepare for trial, taking into account the

exercise of due diligence.      The court believes that the requested

continuance is in the interests of the public and the parties

because it will facilitate a fair, just and efficient resolution of

this matter.

     In sum, the court finds that the continuance requested is in


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the interests of justice which outweigh the interests of the public

and the defendant in a speedy trial.        Therefore, the continuance

requested constitutes excludable time under 18 U.S.C. § 3161(h)(7).

     Defendant’s motion shall be granted and he shall be allowed

until October 17, 2011 in which to file pretrial motions.                  The

government shall be allowed until October 27, 2011 to file its

responses.   The hearing on all pretrial motions filed in this case

shall be held on November 9, 2011 at 9:30 a.m.

     IT IS SO ORDERED.

     Dated this 22nd day of September, 2011 at Topeka, Kansas.


                                  s/Richard D. Rogers
                                  United States District Judge




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